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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION



 VIRGILIO ARAGON-CUERA,


 v.                                      Case No. 8:05-cr-539-T-24TBM
                                                  8:07-cv-1147-T-24TBM


 UNITED STATES OF AMERICA.



                                         ORDER


        This cause is before the Court upon Defendant Virgilio Aragon-Cuera's amended

 motion to vacate, set aside, or correct an allegedly illegal sentence pursuant to 28 U.S.C.

 § 2255. (Doc. cv-6; cr-112) (hereinafter "motion to vacate" or "motion"). Because review

 "of the motion and the file and records of the case conclusively show that the defendant is

 entitled to no relief," the Court will not cause notice thereof to be served upon the United

 States Attorney but shall proceed to address the matter. See 28 U.S.C. § 2255.

                                 PROCEDURAL HISTORY

        On March 23, 2006, Aragon-Cuera pled guilty, without a plea agreement, to

 conspiracy to possess with intent to distribute five kilograms or more of cocaine while on

 board a vessel subject to the jurisdiction of the United States, in violation of 46 Appendix

 U.S.C. §§§ 1903(a)(g) and (j) and 21 U.S.C. § 960 (b)(1)(B)(ii). (Doc. cr-111 at p. 44; Doc.

 cr-77). On June 30, 2006, the Court sentenced Aragon-Cuera to one hundred and eight

 months incarceration. Judgment was entered that same day. (Doc. cr-77). Aragon-Cuera
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 did not directly appeal his sentence.

                              PRESENT MOTION TO VACATE

        On June 26, 2007, Aragon-Cuera signed his original 28 U.S.C. § 2255 motion to

 vacate. On July 15, 2007, he signed his court-ordered amended motion to vacate, raising

 two grounds for relief. The motion to vacate is timely.

                                         DISCUSSION

                                         Ground One

        Aragon-Cuera contends that his counsel was ineffective during his change of plea

 hearing and at his sentencing. In support, he claims that his defense counsel misled him

 as to the amount of prison time he would receive. He also alleges that counsel failed to

 adequately investigate his case. (Doc. cv-6 at p. 5). In his memorandum of law, Aragon-

 Cuera alleges that defense counsel told him he would receive five years incarceration. He

 also contends that counsel used the "speed and plead" technique to "get him through the

 system without an effective investigation of the facts in this case, e.g., pre-trial discovery

 and investigation of the elements that were used to charge and convict" Specifically, he

 claims that counsel did not research the facts and law of § 1903(a) and that, if defense

 counsel had done so, he would have or should have known that Aragon-Cuera was neither

 a "citizen of the United States" or a "resident alien of the United states" on board a vessel,

 within the meaning of 46 Appx. U.S.C. § 1903(a). (Doc. cv-7 at pp. 6-9).

        Aragon-Cuera claims that because he relied on defense counsel's advice, his plea

 was not knowing, voluntary, and intelligent.       He claims that because his plea was

 involuntary, his conviction must be vacated.



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                                         Ground Two

        In ground two, Aragon-Cuera claims that the district court was without jurisdiction

 to convict him pursuant to 46 Appx. U.S.C. § 1903(a). In support he alleges that the

 "Government never proved the essential elements set out in 46 Appx. § 1903(a), and that

 Petitioner [Aragon-Cuera] never intended to transport any controlled substance to

 America." (Doc. cv-6 at p. 6).

                                     APPEAL WAIVER

        Aragon-Cuera's motion to vacate must be denied because Aragon-Cuera waived his

 right to file the present motion to vacate. At his sentencing hearing, Aragon-Cuera's

 defense counsel stated to the Court that Aragon-Cuera and he had discussed Aragon-

 Cuera's waiving his right to appeal. The Court addressed Aragon-Cuera and gave him an

 opportunity to continue the sentencing hearing so that Aragon-Cuera could have more time

 to consider whether Aragon-Cuera wanted to waive his appellate rights. (Doc. cr-114 at pp.

 17-18).

        The Court explained that the decision had to be Aragon-Cuera's, and Aragon-Cuera,

 under oath, stated "Then I do it." (Doc. cr-114 at p. 18). To clarify for Aragon-Cuera the

 meaning of the appeal waiver, the Court stated:

        THE COURT: . . . Okay. Mr. Aragon-Cuera, I have not represented what
        sentence that I am going to impose, and as a Judge I'm not supposed to be
        involved in any kind of plea negotiations, so the only thing I'm asking you
        about now is the waiver of your right to appeal.

               And Mr. Hernandez [defense counsel] has said that he has advised
        you that it would be in your best interest to waive your right to appeal. If you
        do that, you are waiving your right to challenge the sentence that I impose,
        either directly by filing an appeal within ten days of my imposing the
        sentence, or collaterally by way of what we call a 2255 motion where you


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      attack the sentence for -- usually it's the -- for a constitutional reason, and
      usually it's for ineffective assistance of counsel.

             You are waiving the right to file any kind of appeal or collateral attack
      on your sentence unless I exceed the advisory guidelines, or exceed the
      statutory maximum, or sentence you unconstitutionally, some sort of cruel
      and unusual punishment, or something of that sort.

             But now you know, it's an important right, so you should be sure you
      wish to do that.

             THE DEFENDANT: I'm going to waive it.

             THE COURT: Okay, tell me -- tell me -- move the -- tell me what
      you're waiving in your own words.

             THE DEFENDANT: The -- the appeal. Well, the appeal.

             THE COURT: Okay.

            And you understand that by waiving it, your attorney will not file an
      appeal of your sentence?

             THE DEFENDANT: Excuse me, excuse me?

            THE COURT: Okay, if you waive it, your attorney will not appeal the
      sentence that I impose to a higher Court.

             THE DEFENDANT: Okay.

             THE COURT: Is that okay with you?

             THE DEFENDANT: Yes, it's okay.

            THE COURT: Mr. Hernandez, you want to spend any more time with
      him going over this?

              MR. HERNANDEZ: Judge, I -- I frankly don't think so. I think part of
      the problem is, is that he does have a speech impediment, and sometimes
      he just answers yes, you know, versus, uh, a more lengthy, uh answer, but
      he -- I have explained to him before today the appellate rights, and we have
      gone over that on several occasions, particularly before we decided to plead
      open, uh, and I have given him my opinion of what his chances are on
      appeal, and that's why I think that it's to his benefit to waive his right, so I --
      I'm confident that he understands that -- what he's waiving.

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               THE DEFENDANT: Yes.

               THE COURT: Okay.

              All right. Do you wish to -- is that correct: Are you waiving your right
        to appeal the sentence that I impose?

               THE DEFENDANT: Yes.

              THE COURT: Do you want any more time to talk with your attorney
        about what you're doing?

               THE DEFENDANT: No, no.

 (Doc. cr-114 at pp. 18-20).

        Just before imposing sentence, the Court stated:

              THE COURT: Could I get you to come forward, please, and I'll impose
        sentence up here.

                Okay, before we begin I'll just state on the record that based on Mr.
        Aragon-Cuera's earlier statements to me, I will find that he has knowingly and
        voluntarily waived his right to appeal the sentence that I impose, either
        directly or collaterally by way of a 2255 motion, or some other post-conviction
        relief motion.

 (Doc. cr-114 at p. 24).

    Aragon-Cuera Knew of Potential Benefits in Exchange for Waiving Appeal Rights

        A review of the change of plea hearing transcript reveals that Aragon-Cuera was

 informed, at that hearing, that the sentencing judge in this case had, in the past, given

 "some sort of consideration" to those defendants who pled and waived their appeal rights.

 Aragon-Cuera heard Attorney Castillo, counsel for co-defendant Freddy Chala-Mena, say,

 at the change of plea hearing, [about the sentencing judge]:

        --- where she in essence says that -- it's the court talking that "It's my opinion
        that the government, if not the government then the court, ought to give some
        sort of consideration to those other than just sentencing everyone at the low
        end of the advisory guidelines because of the fact that they enter a plea

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       agreement and agree to do certain things, among them the waiver of appeal
       and the waiver of any collateral motions. And doing that causes the
       government not [sic] have to respond to an appeal and at some point there
       be a collateral motion, the court not to have to address that unnecessarily,
       and I though they should be given some sort of consideration."

              There's no guarantee she's going to do it in this case, but as to my
       particular defendant and our discussions with him that's why he's decided to
       sign a plea agreement, whereas in the past other defendants I have had
       have signed without a plea agreement.

 (Doc. cr-111 at p. 19-20)

       Defense counsel for Aragon-Cuera stated, at the change of plea hearing, that

 Aragon-Cuera wanted to plead guilty to count two of the two-count indictment and that "Mr.

 Ruddy [the prosecutor] and I have discussed that we can -- if later on he wishes to waive

 any right to appeal, he [Aragon-Cuera] can do that in writing later on." (Doc. cr-111 at p.

 20) The prosecutor also stated that he had no objection to Aragon-Cuera's entering a plea

 to count two only, and "then Mr. Hernandez and I could deal with count one at a

 subsequent time." (Doc. cr-111 at p. 15).

       The Magistrate Judge explained to Aragon-Cuera at the change of plea hearing:

              Mr. Cureo [sic] I hear the government to say in your case that they will
       also move to dismiss count one, and, absent some extraordinary
       circumstances, they're not going to oppose your lawyer's request that you get
       a three-level downward adjustment in your sentencing guidelines because of
       acceptance of responsibility. These are significant provisions to you.

 (Doc. cr-111 at pp. 25-26)

       Clearly, Aragon-Cuera knew that potentially he would receive some benefit for

 waiving his right to appeal his sentence. And he did. The Presentence Report

 recommended an advisory guidelines sentence of 135 months incarceration. However,




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 Aragon-Cuera was sentenced to a lower sentence of 108 months incarceration. In addition,

 the Government dismissed count one of the indictment at the sentencing hearing.

       Although Aragon-Cuera's appeal waiver was never reduced to writing, it is

 memorialized in the record of this case and is enforceable against Aragon-Cuera.

       “[F]or a sentence-appeal waiver to be enforceable, the government must
       show that either (1) the district court specifically questioned the defendant
       concerning the sentence appeal waiver during the plea colloquy, or (2) it is
       manifestly clear from the record that the defendant otherwise understood the
       full significance of the waiver.” Williams v. United States, 396 F.3d 1340,
       1341 (11th Cir.2005). In addition, a valid waiver precludes a defendant's
       ability to collaterally attack his sentence pursuant to § 2255 . Id. at 1342; see
       also Rivers v. United States, 416 F.3d 1319, 1323 (11th Cir.2005) (Barkett,
       J., concurring) (noting that the right to collaterally attack a sentence must be
       waived expressly and knowingly).

 Stone v. United States, 2006 WL 2724909 at *2 (S.D. Ga. Sept. 22, 2006).

       It is manifestly clear from the record that Aragon-Cuera understood the full

 significance of the waiver. Aragon-Cuera's collateral attack waiver is unambiguous. The

 Court twice explained that the appeal waiver included waiving an attack on the sentence

 by filing a 28 U.S.C. § 2255 motion.

              An appeal or collateral attack waiver is valid if a defendant enters into
       it knowingly and voluntarily. See Williams v. United States, 396 F.3d 1340,
       1341 (11th Cir.2005); United States v. Bushert, 997 F.2d 1343, 1350-5 (11th
       Cir.1993). In this circuit, such waivers have been enforced consistently
       according to their terms. See United States v. Bascomb, 451 F.3d 1292,
       2006 WL 1629154 (11th Cir. June 14, 2006) (collecting cases). . . .

               A valid sentence-appeal waiver, entered into voluntarily and
       knowingly, precludes a defendant from attempting to attack the sentence
       through a claim of ineffective assistance of counsel in a collateral proceeding.
       See Williams, 396 F.3d at 1342. “[A] contrary result would permit a defendant
       to circumvent the terms of the sentence-appeal waiver simply by recasting
       a challenge to his sentence as a claim of ineffective assistance, thus
       rendering the waiver meaningless.” Id.

 McCoy v. United States, 2006 WL 2480059 at *3 (M.D. Ala. Aug. 28, 2006).

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        The undersigned United States District Judge explained to Aragon-Cuera that, by

 agreeing to waive his appeal rights, he was waiving his right to collaterally attack his

 sentence by filing a section 2255 motion, yet he filed the present section 2255 motion to

 vacate. The motion to vacate must be denied, based on Aragon-Cuera's oral appeal

 waiver.

        However, even if the oral appeal waiver were not enforceable in Aragon-Cuera's

 case, the motion to vacate should be denied on the merits.

                   Standard for Ineffective Assistance of Counsel Claims

        To prevail on his claims of ineffective assistance of counsel, Aragon-Cuera must

 meet the two-part test set forth in Strickland v. Washington, 466 U.S. 668 (1984).

 Strickland's two-part test requires Aragon-Cuera to demonstrate that counsel's performance

 was deficient and "there was a reasonable probability that, but for counsel's unprofessional

 errors, the result of the proceeding would have been different." Id. However, if a claim fails

 to satisfy the prejudice component, the court need not make a ruling on the performance

 component. Aragon-Cuera cannot meet either prong of the Strickland standard and

 therefore, cannot prevail on any of his ineffective assistance of counsel claims.

                                   Change of Plea Hearing

        Aragon-Cuera contends that defense counsel told him he would be sentenced to

 five years incarceration. He also alleges that defense counsel misled him "as to what he

 was pleading guilty to" and that counsel failed to specifically investigate the case,

 specifically 46 U.S.C. Appx. §§ 1903(a), (g) and (j).

        Aragon-Cuera and co-defendants Jhon Freddy Chala-Mena and Luis Fernando

 Herrera-Castenada entered their pleas at the same change of plea hearing. At this

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 hearing, the Magistrate Judge explained the charges to which Aragon-Cuera was pleading

 guilty. (Doc. cr-111 at pp. 12-13). The Magistrate Judge explained that a conviction for

 each of the charges would result in a minimum jail term of ten years, and a maximum jail

 term of life imprisonment. (Doc. cr-111 at pp. 12-13). Aragon-Cuera indicated that he only

 wanted to plead guilty to count two, after he heard the discussion about his co-defendants'

 plea agreements. (Doc. cr-111 at p. 15, 17) Finally, Aragon-Cuera decided to go forward

 with an open plea on ground two. (Doc. cr-111 at p. 20).

        The Magistrate Judge cautioned:

                 It is possible that you and your lawyer have made your own
        calculations of the guidelines. As you sit here today you may have some
        expectation as to what they look like and how you will score. Understand how
        this ultimately works. On your sentencing day the judge is going to discuss
        with the lawyers this mandatory minimum, and the judge will also calculate
        your guidelines.

               Understand that her calculation of the guidelines could turn out to be
        different than yours, and the result of that is that her calculation could call for
        a longer or harsher sentence. If that happens, and if you receive a longer or
        harsher sentence than you anticipated, it will not be a basis for your to back
        out of the plea that you expected something else because, as I say,
        ultimately this matter of sentencing is left up to the judge, and your
        expectations are not binding on her.

                Now, if you were somehow able to avoid the mandatory minimum ten
        years, then your sentence will be determined by the judge's calculation of
        your guidelines and what she deems to be a reasonable sentence. If you are
        unable to avoid the mandatory ten years, then your sentence will be at least
        that amount of time and any other amount -- any greater amount of time the
        judge believes is appropriate under the guidelines. If you do not understand
        this raise your hand? Okay. Good.

 (Doc. cr-111 at pp. 21-22).

        Subsequently, Aragon-Cuera, under oath, told the Magistrate Judge that no one had

 promised him anything not discussed at the [change of plea] hearing in order to "get you


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 to plead guilty." He swore that no one had threatened him or his family to get him to plead

 guilty and that he was not being forced or tricked into pleading guilty. He swore that he had

 no complaint about anything his defense counsel had done in his behalf. (Doc. cr-111 at

 p. 38). Aragon-Cuera also swore that no one had promised him a particular sentence. (Doc.

 cr-111 at p. 38).

        The Magistrate Judge had the Government read the factual basis of the plea:

                MR. RUDDY: Your Honor, these facts are identical for all defendants
        in this case. They are as follows:

                That in December of 2005 the defendants agreed to possess with
        intent to distribute more than five kilograms of cocaine while on board a go-
        fast vessel that was subject to the jurisdiction of the United States.
        Specifically, on December 18th of last year the USS Gettysburg located the
        go-fast vessel that these three defendants were on board in international
        waters in the Caribbean basin at geo-coordinates ten degrees thirty-eight
        minutes north, seventy-nine degrees forty minutes west. The go-fast vessel
        upon observing the maritime patrol assets and the USS Gettysburg
        attempted to elude those United States assets.

               These efforts were observed and video-recorded at various stages of
        the -- of the chase, and during which time the various crew members,
        including these defendants, were observed and video recorded jettisoning
        numerous bails of at that point suspected cocaine ultimately determined to
        be in fact cocaine.

               The go-fast vessel entered the Panamanian waters and was ultimately
        captured by the Panamanian Coast Guard. The defendants, as indicated
        previously, were apprehended by the Panamanian authorities on board the
        go-fast vessel. The USS Gettysburg subsequently recovered forty-eight
        bales of the contraband jettisoned from the go-fast vessel which weighed in
        gross weight of approximately twelve hundred kilograms, or twenty-six
        hundred pounds, and the coast guard was advised subsequently that the
        Government of Panama consented to the exercise of U.S. jurisdiction over
        the vessel, the crew and the contraband.

                The Government of Panama subsequently turned over the defendants
        and -- to the United States, whereupon, they were brought to the Middle
        District of florida, specifically Tampa, for prosecution.


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 (Doc. cr-111 at pp. 40-41).

        The Magistrate Judge asked Aragon-Cuera if the facts were accurate and "Is this

 what you did?" Aragon-Cuera answered "Yes." He affirmed that he did not want to correct

 the facts "in any way." (Doc. cr-111 at pp. 41-42). Subsequently, Aragon-Cuera stated that

 he wanted to plead guilty. (Doc. cr-111 at p. 44). The Magistrate Judge found that Aragon-

 Cuera's guilty plea was entered freely and voluntarily with an understanding of the

 consequences. (Doc. cr-111 at p. 45).

        Aragon-Cuera has not alleged any facts to demonstrate that counsel was ineffective

 for failing to represent him adequately during the change of plea hearing. Aragon-Cuera

 chose to plead guilty freely and voluntarily and he did so after he assured the Magistrate

 Judge that no one had made any promises that he would receive a specific sentence. He

 swore, in open court, that he had no complaint about anything his attorney had done for

 him. Solemn declarations in open court carry a strong presumption of verity.” Blackledge

 v. Allison, 431 U.S. 63, 73-74 (1977); United States v. Butt, 731 F.2d 75, 80 (1st Cir. 1984)

 (“[T]he presumption of truthfulness of [defendant's] Rule 11 statements will not be

 overcome unless the allegations in the § 2255 motion. . . .include credible, valid reasons

 why a departure from those earlier contradictory statements is now justified.” )

                                    Failure To Investigate

        Aragon-Cuera claims that his attorney did not investigate the facts of his case, and

 specifically, that his attorney did not investigate the law regarding 46 Appx. § 1903(a). It is

 well-established state and federal law that guilty pleas waive all but jurisdictional claims up

 to the time of the plea. Tollett v. Henderson, 411 U.S. 258, 266-67 (1973) (holding that a

 guilty plea represents a break in the chain of events which has preceded it in the criminal

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 process); Stano v. Dugger, 921 F.2d 1125, 1150 (11th Cir.), cert. denied, 502 U.S. 835

 (1991); Parker v. State, 603 So.2d 616 (Fla. 1st DCA 1992); Dean v. State, 580 So.2d 808,

 809 (Fla. 3d DCA 1991) (citing Boykin v. Alabama, 395 U.S. 238, 243 (1969) (finding that

 a plea of guilty is a waiver of several constitutional rights, including the Fifth Amendment

 privilege against self-incrimination and the Sixth Amendment right to insist on a jury trial)).

 This waiver includes constitutional claims. Wilson v. United States, 962 F.2d 996 (11th

 Cir.1992) (pre-plea ineffectiveness waived); Dermota v. United States, 895 F.2d 1324 (11th

 Cir.) (double jeopardy claim waived), cert. denied, 498 U.S. 837 (1990). Moreover, guilty

 pleas foreclose most claims from collateral attack. See United States v. Broce, 488 U.S.

 563, 569 (1989).

        Aragon-Cuera waived all non-jurisdictional claims relative to his attorney's actions

 prior to Aragon-Cuera's entering a voluntary guilty plea. See Scott v. Wainwright, 698 F.2d

 427, 429 (11th Cir.1993) (finding that “[o]nce a plea of guilty has been entered,

 nonjurisdictional challenges to the conviction's constitutionality are waived, and only an

 attack on the voluntary and knowing nature of the plea can be sustained.” ); Brady v. United

 States, 397 U.S. 742, 757-58 (1970) (guilty plea waived defendant's right to challenge

 constitutionality of federal kidnaping statute); United States v. Martinez, 69 F.3d 1215, 1224

 (1st Cir.1995) (guilty plea waived right to challenge drug conspiracy statute as

 unconstitutionally vague). See Norris v. McDonough, 2007 WL 1655617 at *5 (M.D. Fla.

 June 6, 2007). Aragon-Cuera waived any claims that his defense counsel failed to

 investigate the underlying facts of his case by entering his voluntary, knowing, and

 intelligent guilty plea.

                                     Sentencing Hearing

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        Aragon-Cuera has not set out any facts relative to defense counsel's alleged

 ineffectiveness at the sentencing hearing, and the Court will not address this claim.

        Ground one does not warrant relief.

                                        Ground Two

        Aragon-Cuera contends that the District Court was without jurisdiction to convict him

 under 46 Appx. § 1903(a). He contends that the Government never proved the essential

 elements set out in 46 Appx. § 1903(a) and that Aragon-Cuera never intended to transport

 any controlled substance to America. This claim has no merit.

        Aragon-Cuera pled guilty and agreed that he was aboard a vessel subject to the

 jurisdiction of the United States when the crimes occurred. The United States' jurisdiction

 was based on the Maritime Drug Law Enforcement Act (MDLEA), 46 U.S.C. §§ 1903(a),(g),

 and (j).

        The Piracies and Felonies Clause empowers Congress “To define and punish

 Piracies and Felonies committed on the high Seas, and Offences against the Law of

 Nations.” U.S. Const. Art. I, § 8, cl.10. In enacting the MDLEA, Congress found and

 declared these things: trafficking in controlled substances aboard vessels is a serious

 international problem and is universally condemned. Moreover, such trafficking presents

 a specific threat to the security and societal well-being of the United States. 46 U.S.C.

 Appx. § 1902. The MDLEA provides, in relevant part, that “[i]t is unlawful for any person ...

 on board a vessel subject to the jurisdiction of the United States ... to possess with intent

 to manufacture or distribute, a controlled substance.” 46 U.S.C. app § 1903(a). A “vessel

 subject to the jurisdiction of the United States” includes “a vessel without nationality.” 46

 U.S.C. Appx. § 1903(c)(1)(A).

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        The MDLEA specifically provides that "Jurisdiction of the United States with respect

 to vessels subject to this chapter is not an element of any offense. All jurisdictional issues

 arising under this chapter are preliminary questions of law to be determined solely by the

 trial judge." United States v. Madera-Lopez, 190 Fed. Appx. 832 (11th Cir. 2006) (citing

 46 U.S.C. Appx. § 1903(f))). The Eleventh Circuit has rejected constitutional challenges

 to the MDLEA. See United States v. Rendon, 354 F.3d 1320, 1325 (11th Cir.2003)

 (rejecting argument that MDLEA is unconstitutional because the conduct at issue lacks

 nexus to United States); United States v. Mena, 863 F.2d 1522, 1527 (11th Cir.1989)

 (rejecting a facial challenge to the MDLEA based on a lack of a “meaningful relationship”

 to the United States); United States v. Tinoco, 304 F.3d 1088, 1110 n. 21 (11th Cir.2002)

 (rejecting United States v. Gaudin, 515 U.S. 506 (1995) due process challenge to provision

 in MDLEA, 46 U.S.C. Appx. § 1903(f), which provides that “[a]ll jurisdictional issues arising

 under [the MDLEA] are preliminary questions of law to be determined solely by the trial

 judge” ).Under the MDLEA, the United States had jurisdiction over Aragon-Cuera.

        To the extent that Aragon-Cuera contends, in ground one above, that his defense

 counsel was ineffective because counsel did not research the law regarding 46 Appx. §

 1903(a), Aragon-Cuera has not met the Strickland prejudice prong because he has not

 shown that, but for defense counsel's alleged lack of research and knowledge about 46

 Appx. § 1903(a) the result of the criminal proceeding would have been different.

        Ground two does not warrant relief.



        Accordingly, the Court orders:



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        That Aragon-Cuera's motion to vacate (Doc. cv-6; cr-112) is denied. The Clerk is

 directed to enter judgment against Aragon-Cuera in the civil case and to close that case.

                       CERTIFICATE OF APPEALABILITY AND
                   LEAVE TO APPEAL IN FORMA PAUPERIS DENIED

        IT IS FURTHER ORDERED that Defendant is not entitled to a certificate of

 appealability. A prisoner seeking a writ of habeas corpus has no absolute entitlement to

 appeal a district court's denial of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district court

 must first issue a certificate of appealability (COA). Id. “A [COA] may issue AAA only if the

 applicant has made a substantial showing of the denial of a constitutional right.” Id. at §

 2253(c)(2). To make such a showing, Defendant “must demonstrate that reasonable jurists

 would find the district court's assessment of the constitutional claims debatable or wrong,”

 Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473,

 484 (2000)), or that “the issues presented were ‘adequate to deserve encouragement to

 proceed further, ’ " Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v.

 Estelle, 463 U.S. 880, 893 n. 4 (1983)). Defendant has not made the requisite showing in

 these circumstances. Finally, because Defendant is not entitled to a certificate of

 appealability, he is not entitled to appeal in forma pauperis.

        ORDERED at Tampa, Florida, on August 14, 2007.




 AUSA: Joseph K. Ruddy
 Virgilio Aragon-Cuera, pro se




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